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                                      EXHIBIT F
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    CHANA RINGEL AND CR
                                                                                  , CHAMBERS OF
                                                                               FRANC;  Ficiit r   FisR
                                                                                                    JR.itv,
    LAKEWOOD, INDIVIDUALLY, AND                     SUPERIOR COIAIT
    DERIVATIVELY ON BEHALF OF                      CHANCERY DIVISION:OCEAN COUNTY
    BCR LAKEWOOD HOLDINGS, LLC,
                                                                        Civil Action
       Plaintiffs,
                                                           HON. FRANCIS R. HODGSON, JR.
          vs.                                                        P.J., Ch.

    BR LAKEWOOD, LLC AND
    BENJAMIN RINGEL,                                            Docket No, OCN-C-127-15

       Defendants,

    CHANA RINGEL, INDIVIDUALLY,
    AND DERIVATIVELY ON BEHALF
    OF BCR OAKRIDGE, LLC,
                                                                Docket No. OCN-C-152-16
       Plaintiffs,
                                                                      STIPULATION
          vs.


    BENJAMIN RINGEL, SUNSET HILL
    OAKRIDGE PLAZA, LLC, JOHN
    DOES 1-10, AND ABC
    CORPORATION 1-10,

       Defendants.



          Defendants BR Lakewood, LLC, Sunset Hill Oakridge Plaza, LLC and Benjamin Ringel

   (collectively, "Defendants"), Plaintiffs Chana Ringel and CR Lakewood, LLC, individually, and

   derivatively on behalf of BCR Lakewood Holdings, LLC, and Chana Ringel, individually and

   derivatively on behalf of BCR Oakridge, LLC (collectively, "PIaintiffs") and Rushmore Capital,

   LLC ("Rushmore"), by and through their undersigned counsel, hereby Stipulate and Agree as

   follows:
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        1. The closing on the Pinewood Property that is the subject of the above-captioned
           matters is hereby stayed;

        2. The stay outlined in Paragraph 1 above shall continue until Defendants' current
           appeal, pending before the Appellate Division, Docket No, A-0370-21T2, is resolved
           by the Appellate Division;

        3. Within fourteen (14) days of the Escrow Agent's receipt of this executed Stipulation,
           the Escrow Agent shall return to Rushmore its $2.5 million deposit paid to the
           Escrow Agent on or about February 23, 2022 in accordance with the Sale Agreement,
           together with any interest;

        4. Should the Appellate Division reverse or vacate the Court's August 25, 2021 Order,
           no sale to or closing in favor of Rushmore will occur, subject to any additional
           proceedings and/or court orders;

        5. Should Rushmore prevail after resolution of Defendants' appeal, then Rushmore shall
           tender its $2.5 million deposit within five (5) days of entry of the order by the
           Appellate Division and have sixty (60) days from entry of the order by the Appellate
           Division to close on the Pinewood Property; and

        6. Defendants, and their related entities, and Plaintiffs, and their related entities,
           expressly reserve their rights against one another. This Stipulation is not intended to
           affect those rights as all rights are reserved.




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  DATED: April 13, 2022




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   derivatively on behalf of BCR Lakewood
   Holdings, LLC and Chana Ringel,
   individually and derivatively on behalf of
   BCR Oakridge, LLC




  So Ordered:




  Hon. Francis J. Hodgson, Jr., P.J.Ch.
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